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                            UNITED STATES DISTRICT COURT
                                   D ISTR IC T O F N EVA DA
  LINITED STATES OF AMERICA,                    )
                                                )
                      Plaintiff,                )
                                                )
         v.                                     )         2:08-CR-31I-RLH (GW F)
                                                )
  ARTUR AM BARTSUM YAN,                         )
                                                )
                      Defendant.                )

                              FINAL O RDER OF FORFEITURE
         On M arch 7,2011,the United States DistrictCourtforthe DistrictofNevada entered a
 Prelim inaryOrderofForfeiturepursuanttoFed.R.Crim.P.32,2(b)(1)and(2))Title18,UnitedStates
 Code,Sedion9%2(a)(2)(B);Title18,UnitedStatesCode,Sedion982(a)(l);Title18,UnittdSlates
 Code,Section981(a)(1)(A);and-l-itlez8,UnitedStatesCodesSectionz46ltc);Titlel%,UnitedSutes
 Code,Section981(a)(l)(C),andTitlt28,UnitedStatesCode,Stction246l(c),basedupontbeplea
 ofguiltybydefendantARTUR AM BARTSUM YAN tocrim inaloffenses,forfeitingspecitk property
 alleged in thelndictmentand agreed to in the PltaM emorandum and shown bythe United Statesto
 have a requisite nexusto tiw offtnse to w hic,
                                              b defendantA RTU R AM BA RTSU M Y AN pled guilty.
 D ocket#1,295,296,297.
         This Courtlinds the United States of Am erica published the notice of the forfeiture in
 accordmwewith thelaw viathe offioialgovernm entintenwtforfeituresite,www,forfeiture.cov.
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 consecutively from M arch 8,201l,through to A pril6,2011,notifying allknow n third partiesoftheir
 rightto petition the Court.#305.
         ThisCourtfindsnopetition wasfiled herein by oron behalfofany person orentity andthe
 tim e for filing such petitionsand claim shas expired.
         ThisCourttindsnopetitionsarependingwithregardtotheassetsnam edhereinandthetime
  forpresenting such petitionshasexpired.
         TH ER EFO RE,IT IS HEREBY O RD ER ED ,AD JU DG ED ,AN D D ECREED thata11right,
 title,and interestin the property hereinaherdescribed iscondemnedsforfeited,and vested in the

 United SotesofAmerica pursuantto Fed.R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P.
 32.2(c)(2);Titlel8,UnitedStatesCode,Section982(a)(2)(B);Title18,UnitedStatesCode,Section
 982(a)(1);Title l8,United StatesCode,Section 981(a)(l)(A),and Title28,United StatesCode,
  Section2461(c);andTitle18,UnitedStatesCode,Section981(a)(1)(C),andTitle28,UnitedStates
 Code,Section2461(c);andTitle21,UnitedStatesCode,Section853(n)(7)andshallbedisposedof
 according to law :
         a.     Sony Brown 42''Lcd Tv,Sm 1050106;
                Sony Brow n 42''Lcd Tv,Sm 1002050)
         c.     DellM odel 1320 LaserPrinter,Sm 35/ 11t7 ;
                DellM odel1850 LaserPrinter,Sm H 1c34091;
         e.     AcerLaptop,S/N Lu 170x043820001e5 513;
         f.     DellXpsLaptop,Sm 5vg3kd1;
         g.     Apple M ac Laptop,Sm W 8807f5dop1;
                Hp Laptop,Sm 2ce7222m 6q;
                M ac Book A ir,Sm W 88l3ppuy5l;
                M iscellaneousCards,Cables,Remotes,Controllers,Stands;
         k.     3.5 X D rivesExtend Harddrive,Sm 020851;
         1.     Apple Tv,Sm 6f8182w 04cp;
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     1           m.     W d ExtenmlHard Drive,Sm W x1:207674808;
     2)          n.     M sr206 Encoder,Sm A015401;
     3           o.     Psp Portable,Sm Pp865026504-P/ 1001;
                                                                                                !
     4           p.     Psp Portable,Sm 2ï4045924040-17sp2001;
     5           q.     lpod Touch 16 Bg,Sm 1c80167a/4p;

     6           r.     lphone,Sm 5k81880jwh8;
     7           s.     lphone,S/N Bcga1241;
     8           t.     Iphone,Sm 51180247kw 1:8;
     9l          u.     Iphone,Sm 579ca1241;
    10           v.     Sandisk 2 Gb Flashdrive,Sm 2O48rb;
    11           w.     Sandisk 4 Gb Flashdrive,Sm '
                                                   4O96rb;
    12           x,     Sandisk 1G b Flashdrive,Sm 1024rb;
    13           y.     Pny A ttache 1 Gb Flashdrive,N o S/N ;
1
I   14           z.     LogitechM xRevolutionThumbdrive,Sm 810-000412;
    15           mrt.   Iron Key Thum bdrive,Sm 0140485;
i
i   16           ab     Iron Key Thum bdrive, Sm 0140551)

    17           ac.    DellX ps Tow er,Sm 3ogzcgl;
    18           ad.    Playstation 3,Sm Ce124O62502-Cecha01;
    19           ae. Playstation 3,Sm Ce514635354-C2c14 01;                                     1
    20                                                                                          l
                 af.    X box 360,Sm 311730682105;
    21           ag. Xbox 360,N o SJN ;
    22           ah.    1 -X box 360 V ideo G am e;
    23           ai,    l1 -Playstation 3 V ideo Gam es;

    24           aj. 6-PspGameslnCase;
    25           ak. 35 -B lue Ray M ovies;

    26           al. W tj-90aTipper;
                                                           3
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     1
 1           am. $3,000Cash(From GaryAmbartsumyan'srooml;
 2           an. $4900Cash(From ArturAmbartsumyan'sroom);
 3           ao. $14,802.63 in M oney Czram M oney Orders'
                                                         ,
 4           ap. M ens'BreitlingBentley W atch,Sm A25362.
                                                        ,and
 5           aq. M ens'Breitling Bentley W atch;
 6           ar    counterfeitaccessdevice containing unauthorized accountinform ation forV isa
                                                                                                  j

 7                 debitcard accountin thename ofM .V .,accountnumberending in X-4923,
                                                                                     .
 8           as.   counterfeitaccessdevice containing unauthorized accountinform ation forV isa
 9                 debitcard accountin thename ofG.V .,accountending in X-2319;
10           at.   counterfeitaccessdevice containing unauthorized accountinfonnation forVisa
11                 debitcard accountin thenameofC,D.,accountending in X-1918,'
12p
   p         au. counterfeitaccessdevicecontaining unauthorized accokmtinfonnation fora
13                 Bank ofAmericaVisa debitcard account,accountending in X-7l19.
                                                                               ,
14           av. counterfeitaccessdevicecontaining tmauthorized accountinform ation forBank
15                 ofAmericaVisa debitcard accountin the nameofJ.R.,accountending inX-
16                 4609,
                       .
17           aw . counterfeitaccessdevice containing unauthorized accountinform ation fora
18                 Bank ofAm ericaVisadebitcard accountin thenam eofB .J.,accountending
19                 in X -1577,
                             ,
20           ax. counterfeitaccessdevice containingunauthorized accountinformation fora
21                 Bank ofAm ericaVisadebitcard account,accountending in X-8491;
22           ay. counterfeitaccess device containing unauthorized accountinfonnation forBank
23                 ofAmericaV isa debitcard account,accotmtendingin X-6657.
                                                                          ,

24           az    counterfeitaccessdevictcontaining unauthorized accountinfonnation forBank
                                                                                                  ;
25                 ofA m erica V isa debitcard account, accountending in X -9612;
26 ...

                                                   4


     j
     l
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           aaa. counterfeitaccessdevicecontaining kmauthorized accountinform ation forBarlk
                 ofAm ericaVisadebitcardaccountin thenam eofG.S.Saccountending in X-
                 2034.
                     ,
           mab. counterfeitaccessdevicecontaining unauthorized accountinform ation forBank
                 ofAm ericaVisa debitcard accountin the nam eofC.S.,accountending in X-
                 3846,
                     .
           mac. counterfeitaccessdevice containing unauthorized accountinform ation forBank
       '

                 ofAm ericaVisadebitcard accountin tlw nam eofS.K .,aecountending in X-
                 5010.
                     >
           aad. counterfeitaccessdeviceconOining unauthorized accountinform ation forBarlk
                 ofAm ericaVisadebitcard accountin thenam eofE.H .,accountending in X-
                 4275;
           aae. counterfeitaccessdevice containingunauthorized accountinformation forBank
                 ofAmericaVisadebitcard accountin thenameofB.W .,accountending in X-
                 7341;
           maf. counterfeitaccessdevicecontaining tmauthorized accountinformation forBank
                 ofA m erica V isa debitcard account,accountending in X -3019;
           aag. counterfeitaccessdevice containing unam horized accountinformation forBank
                 ofAmerica Visa debitcard accountin the name ofD.R.,accountending inX-
                 40l8;
           aah. counterfeitaccessdevice containing unauthorized accountinform ation forBank
                 ofAmerica Visadebitcard account,accountending in X-7017;
           mai. counterfeitaccessdevicecontaining unauthorized accountinformation forBank
                 ofAmericaVisadebitcard account,accountendinginX -6691;
           aaj. counterfeitaccessdevicecontainingunauthorizedaccountinfonnationfor
                 W ellsFargo debitcard account,num berending in X-4424.
                                                                      ,

                                                 5
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         11
         ii
         !k
     1            aak. counterfeitaccessdevice containing tmauthorized accountinformation fora
     2                  W ells Fargo debitcard account,accountnum berending in X-7930;
     3            aal. counlerfeitaccessdevicecontaining unauthorized accountinformation fora
     4                  W ellsFargo debitcard account,numberending in X-6110;
                                                                                                         j
     5            aam.2008WhiteBMW M5,Vm W85N893548CX09044;                                              l
                                                                                                         l
     6            aan. 2008 Black M ercedesBenzG-500 W agon,Vm W DCYR49E38X l71546;

     7            aao. 2006BlackQuadCabDodgeDakotaTnlck,Vm 11771-1A18286.
                                                                        1185015;and
     8            map. aninpersonam criminalforfeituremoneyjudgmentof$663,089.35inUnited
     9                  StatesCurrencyCthepropertf').
    10            IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thatany and al1forfeited
    11 funds,includingbutnotlim itedto,currency,currencyequivalents,certificatesofdeposit,aswellas
'
    12r
      ;
         r anyincom ederivedasaresultoftheUnitedStatesofAmerica'sm anagem entofanypropertyforfeited
    13 herein,andtheproceedsfrom thesaleofanyforfeitedproperty shallbedisposed ofaccordingtolaw .
    14            The Clerk ishereby directed to send copiesofthisOrderto a11counselofrecord and three
    15 certified copiesto the United StatesAttorney'sOffice,
    16            DATED this             day of     /        -     ,20l1.
    17                                              )
                                                                          '
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    18                                                                            -


    19                                                      ED TATESDIS CTJU                             l
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